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                      UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

DEBORAH HILL and ROBERT
HILL, her husband,

              Plaintiffs,              CASE NO.: 4:20-cv-00524-MW-MAF
vs.

DIEBOLD NIXDORF, INC.,

              Defendant.
                                              /

         DEFENDANT DIEBOLD NIXDORF INC.’S OPPOSITION TO
      PLAINTIFFS’ MOTION FOR LEAVE TO FILE SECOND AMENDED
                COMPLAINT AND MOTION TO REMAND

I.      INTRODUCTION

        Defendant Diebold Nixdorf, Inc. (“Diebold”), by and through its undersigned

counsel and pursuant to 28 U.S.C. § 1447(e), submits this Opposition to Plaintiffs’

Motion for Leave to File Second Amended Complaint (“Motion for Leave”) and

Motion to Remand (collectively, “Plaintiffs’ Motions”). Six weeks after the Court’s

February 26, 2021 deadline to amend pleadings, Plaintiffs have belatedly sought

leave to amend their Complaint to add a non-diverse defendant (Bryan Trimmer) in

an effort to destroy this Court’s subject matter jurisdiction. Since day one, however,

Plaintiffs’ claims have centered on the actions of Diebold’s “employees and agents.”

Moreover, since at least December 2020, Plaintiffs have been aware of

Mr. Trimmer’s identity as the service technician who performed the repairs that
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Plaintiffs claim created the hazardous condition. Yet, Plaintiffs waited over three

years after the fall, five months after removal to federal court, three months after

Diebold disclosed Mr. Trimmer’s identity, and six weeks after the deadline to join

additional parties to seek leave to add Mr. Trimmer.

      Plaintiffs’ motions should be denied because: (1) the sole purpose of

Plaintiffs’ proposed amendment is to destroy diversity jurisdiction in this Court; (2)

Plaintiffs were dilatory in seeking to join Mr. Trimmer; (3) Plaintiffs will not suffer

any prejudice if the amendment is not allowed; and (4) a balance of the equities does

not support joinder of a non-diverse defendant. Accordingly, Diebold respectfully

requests that this Court deny Plaintiffs’ Motion to Amend and Motion to Remand.

II.   PROCEDURAL AND FACTUAL BACKGROUND

      This case arises from an alleged slip-and-fall that occurred on October 2,

2017, at Centennial Bank in Apalachicola, Florida. Plaintiffs allege that Mrs. Hill

sustained injuries after slipping on “lubricants, cleaners, or other substances . . . that

were negligently left on the floor having been used by Diebold and its employees

or agents.” (Doc. 7, Pl. Am. Compl., ¶ 19) (emphasis added). Indeed, Plaintiffs’

Amended Complaint (filed as recently as November 12, 2020) makes it clear that

her claims arose from the alleged conduct of Diebold’s “employees or agents”:




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(Doc. 7, Pl. Am. Compl., ¶¶ 12-16). Yet, Plaintiffs chose to proceed against only

Diebold as a defendant—not the employee that serviced the bank and allegedly

created the hazardous condition nor a John Doe. On November 3, 2020, Diebold

removed the case, which was originally filed in state court, on the basis of diversity

jurisdiction. (Doc. 1). On November 12, 2020, Plaintiffs filed an Amended

Complaint to correct a non-substantive error. (Doc. 7).




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      Not only did Plaintiffs’ allegations focus on the conduct of Diebold’s

employee, but Diebold disclosed the identity of the service technician at the outset

of discovery. On December 21, 2020, Diebold stated in its Rule 26 Initial

Disclosures that:




(Ex. A, Diebold’s Rule 26(a)(1) Initial Disclosures). Diebold also produced

Mr. Trimmer’s timecard and call log as part of its Initial Disclosures. (Ex. B,

DIEBOLD0006-12). These documents further demonstrated that Mr. Trimmer

cleaned and serviced the vault door on October 2, 2017 (the day prior to the alleged

incident). Plaintiffs even relied on this disclosure when requesting Mr. Trimmer’s

deposition. (Ex. C, 2/14/21 Email from D. Rash to S. Fox) (“In the meantime, we

would like to take the deposition of Bryan Trimmer, Diebold’s Senior Service

Technician disclosed in Diebold’s Initial Disclosures.”).

      Plaintiffs did not propound interrogatories or requests for admission seeking

information about Mr. Trimmer or the service he performed. Rather, their written

discovery efforts consisted of only 13 requests for production. Diebold responded to



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these requests on January 8, 2021—49 days before the deadline to join additional

parties. Diebold mentioned Mr. Trimmer’s name in its responses no less than eight

times. (Ex. D, Diebold’s Responses to Pls.’ Requests for Production; see also Doc.

11.). In regards to Mr. Trimmer, Diebold produced his training history and later

supplemented its responses following the execution of a confidentiality agreement

to include Mr. Trimmer’s personnel file.

      On February 26, 2021, the deadline to join additional parties passed without

Plaintiffs requesting an extension. The parties began deposing witnesses shortly

thereafter. Plaintiffs sought a corporate witness from Diebold before requesting

Mr. Trimmer’s deposition – despite their current position that they “still needed

Mr. Trimmer” to determine whether they had an independent claim against him.

(Motion to Amend, pp. 3-4.) Diebold produced two Rule 30(b)(6) witnesses, John

Callen and Keith Hyser, on March 8, 2021. Mr. Callen provided testimony relating

to Diebold’s training and safety policies, and Mr. Hyser provided testimony relating

to his supervision of Mr. Trimmer in 2017. On March 23, 2021, Plaintiffs deposed

Mr. Trimmer himself, and on April 1, 2021, Diebold deposed both Plaintiffs.

Plaintiffs allege that they did not have an independent cause of action against

Mr. Trimmer until these depositions were completed. (Motion to Amend, pp. 9-10.)

Plaintiffs then filed their Motion to Amend and Motion to Remand six weeks after

the deadline to join additional parties.



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III.   ARGUMENT

       Plaintiffs’ reliance on Federal Rule of Procedure 15(a) as support for leave to

amend is misplaced. Rule 15(a) does not apply where a party seeks to add a non-

diverse party in a removed case. Sharp v. K-Mart Corp., 991 F.Supp. 519, 521 (M.D.

La. 1998) (“[T]he right to freely amend set forth in Rule 15 of the Federal Rules of

Civil Procedure does not apply where a party seeks to add a non-diverse party in a

removed case.”). Although Plaintiffs seek to add Mr. Trimmer as a defendant under

Rule 15(a), the amendment amounts to, and should be characterized as, a “joinder”

pursuant to Rule 20 of the Federal Rules of Civil Procedure. Ingram v. CSX

Transportation, Inc., 146 F.3d 858 (11th Cir. 1998) (holding that an amendment

amounted to joinder under Rule 20 because it sought to add claims against a new

party that arose out of the same transaction or occurrence as her alleged right to relief

against Defendant CSX).

       Further, Section 1447(e) specifically contemplates joinder that destroys

subject matter jurisdiction in cases that have already been removed from state to

federal court. See 28 U.S.C. § 1447(e). Section 1447(e) provides that, “if after

removal the plaintiff seeks to join additional defendants whose joinder would

destroy subject matter jurisdiction, the court may deny joinder, or permit joinder

and remand the action to state court.” Id. (emphasis added). In determining whether

to allow joinder under § 1447(e), courts are to examine the following factors:



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      (1)    The extent to which the purpose of the amendment is to
             defeat federal jurisdiction,

      (2)    Whether the plaintiff has been dilatory in asking for the
             amendment,

      (3)    Whether the plaintiff will be significantly injured if the
             amendment is not allowed, and

      (4)    Any other factors bearing on the equities.

Heininger v. Wecare Distributors, Inc., 706 F. Supp. 860, 862 (S.D. Fla. 1989)

(adopting Hensgens v. Deere & Co., 833 F.2d 1179,1182 (5th Cir. 1987), cert.

denied, 493 U.S. 851, 110 S.Ct. 150, 107 L.Ed.2d 108 (1989)).

      As demonstrated below, all four factors weigh against amendment to add

Mr. Trimmer as a defendant.

      A.     Plaintiffs are seeking a second amendment to their Complaint
             solely for the purpose of destroying this Court’s subject matter
             jurisdiction.

      The timing and substance of the proposed amendment strongly support a

finding that Plaintiffs’ sole motivation is to destroy this Court’s subject matter

jurisdiction. As to timing, courts have found that attempts to add a non-diverse

defendant following removal, coupled with circumstances under which the plaintiff

knew or should have known the identity of the would-be defendant at an earlier time,

“strongly indicates that the purpose of the plaintiff's amendment is to defeat federal

jurisdiction.” Smith v. White Consol. Ind., Inc., 229 F.Supp.2d 1275, 1280 (N.D. Ala.




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Oct. 22, 2002) (finding that plaintiff’s amendment to add a non-diverse defendant

nine months after removal was intended only to defeat diversity jurisdiction.)

         Here, Plaintiffs were aware since no later than December 2020 that

Mr. Trimmer was the service technician who worked on Centennial Bank’s vault on

October 2, 2017. (Ex. A, Diebold’s Rule 26(a)(1) Initial Disclosures.) They

possessed this knowledge for three months before the amendment deadline and had

three years from the date of the incident to discover this information on their own.

In short, Plaintiffs had ample time to discover Mr. Trimmer’s identity, his conduct

on that day, and add him as a defendant to their Complaint.

         Further, Mrs. Hill’s deposition testimony directly undermines Plaintiffs’

contention that their delay in joining Mr. Trimmer was because they just discovered

“the way he directly performed his job duties” and that “he was personally involved

in negligently creating the danger causing Mrs. Hill to slip and fall.” (Motion to

Amend, p. 4). To the contrary, Plaintiffs state in their Motion to Amend that

Mrs. Hill “testified that the Diebold service technician, who we now know was

Mr. Trimmer, was spraying what she believed she recognized by smell to be WD-40

on the front and back of the bank vault door, which opened toward the direction of

where she slipped and fell.” (Motion to Amend, p. 9).1 Thus, Mrs. Hill had a

long-held belief that the technician’s conduct caused the hazardous condition.


1 Mrs. Hill’s deposition transcript is not yet available.


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       There is no justification for Plaintiffs’ failing to assert claims against

Mr. Trimmer once they know of his identity. In many ways, this would be akin to a

plaintiff in a motor vehicle accident case claiming to be unaware of a potential claim

against the driver of a company vehicle. The potential claim against Mr. Trimmer

was clear and obvious before the deadline to join parties passed on February 26,

2021, and the timing of Plaintiffs’ Motion to Amend six weeks after that date

indicates that Plaintiffs’ sole purpose is to destroy diversity jurisdiction.

       B.    Plaintiffs were dilatory in seeking to amend their Complaint to add
             a non-diverse defendant.

       In Linares v. Home Depot, the plaintiff sought leave to amend to join the store

manager of defendant Home Depot. The Court noted that the original complaint

against the store and the proposed complaint adding the store manager were

“substantially similar,” which meant that “[c]learly, an extensive investigation was

not required to ascertain the claim against [the store manager].” Linares v. Home

Depot U.S.A., Inc., No. 12-60308-CIV, 2012 WL 1441577, at *2 (S.D. Fla. Apr. 26,

2012). For this reason, the Court found that “while Plaintiff was not dilatory in

asking for amendment two months after the initial filing of the Complaint, Plaintiff

was dilatory in alleging a claim against [the store manager] when the accident

occurred over a year before he sought to add this party as a defendant.” Id. at *2,

n.3.




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      Here, the time difference is much starker than in Linares. Plaintiffs first sought

to add Mr. Trimmer as a defendant more than three years after the fall, five months

after removal to federal court, three months after Diebold disclosed Mr. Trimmer’s

identity in its Initial Disclosures, and six weeks after the deadline to amend

pleadings. See also Turner v. Wal-Mart Stores E., L.P., No. 7:11-cv-181, 2012 WL

6048949, at *2 (M.D. Ga. Dec. 5, 2012) (finding almost eleven months after removal

and two months before discovery ended as dilatory); D.N. v. Dreamland

Amusements, Inc., 2011 WL 2269411, at *3 (S.D. Ga. Apr. 20, 2011) (finding that a

request to add parties approximately two months after removal, ten months after

filing a complaint in state court, and more than four years after the events alleged in

the complaint to be dilatory).

      During this time, Plaintiffs could have engaged in an investigation or written

discovery to explore whether they had an independent claim against Mr. Trimmer.

They chose not to do so. Instead, they waited until after the deposition of

Mr. Trimmer, himself, to make their claim. Plaintiff could have also named a John

Doe defendant until it was able to confirm the identity of the relevant employee(s)

and then amended to replace the John Doe when they had sufficient information.

Further, if they believed that they had a potential claim against Mr. Trimmer and

simply needed additional time to complete their investigation, they could have

requested an extension of the deadline to amend pleadings. They did not make any



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such effort. Thus, this second factor weighs against permitting this belated

amendment.

      C.     Plaintiffs will not be prejudiced or injured in any way if the
             amendment is not allowed.

      Plaintiffs will not be prejudiced if Mr. Trimmer is not joined. Plaintiffs do

not contend that they will be unable to obtain a judgment from Diebold without

Mr. Trimmer’s presence; nor have they alleged that Diebold will be unable to

provide complete relief for their injuries if they prevail. See Sexton v. G & K Servs.,

Inc., 51 F.Supp.2d 1311, 1313-14 (M.D. Ala. 1999) (finding no significant injury

where plaintiff sought to join non-diverse employee of defendant company as

additional defendant because plaintiff did not show that recovery from defendant

company would be incomplete). Therefore, there is no indication that Plaintiffs will

be prejudiced if Mr. Trimmer is not joined, which weighs against adding him as a

defendant in this case.

      D.     Diebold’s interest in retaining the federal forum favors denial of
             Plaintiffs’ Motion to Amend.

      Finally, in determining whether joinder pursuant to § 1447(e) is appropriate,

the Court must consider “any other factors bearing on the equities.” Sexton, 51 F.

Supp. 2d at 1312. “In balancing the equities, the parties do not start out on an equal

footing. This is because of the diverse defendant’s right to choose between a state or

federal forum.” Id. at 1313.



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       As a diverse defendant, Diebold has an interest in retaining the federal forum.

Heininger, 706 F. Supp. at 862 (the diverse defendant has an interest in keeping the

action in federal court). As recently explained by another District Court:

       Giving diverse defendants the option of choosing the federal forum is
       the very purpose of the removal statutes. Just as plaintiffs have the right
       to sue in state court when complete diversity does not exist, non-
       resident defendants have the right to remove to federal court when there
       is diversity. Therefore, the district court, when faced with an
       amended pleading naming a new non-diverse defendant in a
       removed case, should scrutinize that amendment more closely than
       an ordinary amendment.

Sexton, 51 F. Supp. 2d at 1313 (internal citations omitted) (emphasis added). The

balance of the equities here weighs against allowing amendment because Diebold is

a fully solvent defendant who will be vicariously liable for any of Mr. Trimmer’s

negligent conduct and who has chosen to litigate in federal court. See Linares, 2012

WL 1441577, at *3.

IV.    CONCLUSION

       Plaintiffs’ request to add Mr. Trimmer as a defendant is markedly late,

designed solely to destroy subject matter jurisdiction, and will have no effect on the

relief available to Plaintiffs. Accordingly, Diebold respectfully requests that the

Court deny Plaintiffs’ Motion for Leave to File Second Amended Complaint and

Motion to Remand.




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Dated: April 19, 2021.            Respectfully submitted,

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                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 19, 2021, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF system, which will send a notice

of electronic filing to the following counsel of record:

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